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Opinion filed May 10, 2007

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In The

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&nbsp;&nbsp;&nbsp; Eleventh Court of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ____________

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN THE INTEREST OF M.N., A CHILD

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
Appeal from the 326th District Court

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Taylor County,
Texas

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial
Court Cause No. 5969-CX

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
P I N I O N

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The trial court terminated Mandi Durham=s parental rights to her daughter,
M.N.&nbsp; Durham filed this accelerated appeal from the
trial court=s
order.&nbsp; We affirm.

At the outset, we must determine whether Durham has preserved any
points of error for appeal.&nbsp; The Texas
Department of Family and Protective Services maintains that she has not because
she failed to timely file a statement of points on appeal.

Tex. Fam.
Code Ann. '
263.405(b) (Vernon Supp. 2006) contains the following provision: 

Not later than the 15th day after the date a final
order is signed by the trial judge, a party intending to appeal the order must
file with the trial court a statement of the point or points on which the party
intends to appeal. The statement may be combined with a motion for new trial.

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Some intermediate appellate courts had been
holding that noncompliance with Section 263.405(b) did not constitute waiver of
non-jurisdictional issues on appeal.&nbsp; In
re S.J.G., 124 S.W.3d 237, 240-43 (Tex. App._Fort
Worth 2003, pet. denied); In re D.R.L.M., 84 S.W.3d 281, 290 (Tex. App._Fort
Worth 2002, pet. denied).

In response to those holdings, the legislature
added subsection (i) to Section 263.405.&nbsp;
Tex. Fam. Code Ann. ' 263.405(I) (Vernon Supp. 2006)
provides:

The appellate court may not consider any issue
that was not specifically presented to the trial court in a timely filed
statement of the points on which the party intends to appeal or in a statement
combined with a motion for new trial.&nbsp;
For purposes of this subsection, a claim that a judicial decision is
contrary to the evidence or that the evidence is factually or legally
insufficient is not sufficiently specific to preserve an issue for appeal.

&nbsp;

Appellant did not file a separate statement of
points on appeal within fifteen days of the date on which the termination order
was signed.&nbsp; She filed a motion for new
trial after the fifteen-day period and within thirty days after the termination
order was signed.&nbsp; Tex. R. Civ. P. 329b(a).&nbsp; Appellant combined her statement of points on
appeal with the motion for new trial.&nbsp;
The motion for new trial was filed more than fifteen days after the
order of termination.&nbsp; Appellant,
therefore, did not file a statement of points within fifteen days of the
termination order as required under Section&nbsp;
263.405(b).&nbsp; The trial court
attempted to enlarge the time for filing the statement by granting appellant=s motion to extend the time within
which to file her statement of points on appeal.&nbsp; The statute does not allow for such an
extension.&nbsp; Given that the policy behind
subsection (b) of the statute is to shorten postjudgment delays, we hold that
the trial court cannot extend the date on which a statement of points is due to
be filed.[1]&nbsp; See In re D.R.L.M., 84 S.W.3d at 290

(finding that subsection (b) was enacted to reduce postjudgment delays before
the enactment of subsection (i)). 








The statute is clear that a party who does not
file a statement of the points on appeal within fifteen days does not preserve
any issues for appeal.[2]&nbsp; Section 263.405(b).&nbsp; Not only does the party waive those issues,
but the statute also prohibits the appellate court&nbsp; from considering any issues that are not
contained in a statement of points on appeal.[3]&nbsp; Section 263.405(i).

We affirm the trial court=s
order. 

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JIM R. WRIGHT

CHIEF JUSTICE

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May 10, 2007

Panel
consists of:&nbsp; Wright, C.J.,

McCall,
J., and Strange, J.











[1]We join the other courts of appeals that have expressed
due process concerns about applying this statute to termination proceedings of
parental rights that are final, irrevocable and of constitutional
magnitude.&nbsp; See, e.g., In re R.C.,
No. 07-06-00444-CV, 2007 WL 1219046, at *2 (Tex. App.CAmarillo April 25, 2007, no pet. h.).





[2]We do not address the procedure for determining issues
raised in a motion for new trial that temporally could not have been raised in
a timely filed statement of points on appeal. 





[3]If the trial court finds that an appeal is frivolous
under Tex. Fam. Code Ann. ' 263.405(d)(3) (Vernon Supp. 2006), the aggrieved parent can appeal, but
the appeal is limited to the frivolousness issue. Tex. Fam. Code Ann.&nbsp; ' 263.405(g) (Vernon
Supp. 2006); In re K.D.,
202 S.W.3d 860, 865 (Tex.
App.CFort Worth 2006, no pet.).&nbsp; In this case, the trial court did not find
the appeal to be frivolous.







